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2:90-cv-00520 LKK JFM P
DEFENDANTS’ OPPOSITION TO MOTION FOR INJUNCTIVE RELIEF
REQUIRING ACCESS TO INPATIENT PSYCHIATRIC
HOSPITALIZATION |

Exhibit B, SM Riveland letter, 5/28/08
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Chase Riveland ©
Office of the Special Master
Valdivia v. Schwartzenegger

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August 10, 2008

VIA EMAIL & U.S. MAIL

Ms. Jessica Devencenzi Mr. Ernest Galvan

Deputy Attorney General ROSEN, BIEN & ASARO
1300 I” Street, Eighth Floor 315 Montgomery Street, Tenth
PO Box 944255 Floor

Sacramento, CA 94244-2550 San Francisco, CA 94104

Dear Ms. Devencenzi and Mr. Galvin:

The Order regarding mentally ill parolees unable to participate in revocation hearings
signed by Judge Lawrence Karlton on January 14, 2008 allowed me to grant an extension
of time on any of the deadlines imposed by that Order.

At the request of both parties I am extending the deadline imposed in paragraph number
5, namely the deadline for implementation of the policies and procedures from June 15,
2008 to August 15, 2008.

Sincerely yours,

Chase Riveland

Chase Riveland
Special Master

CC: Judge Karlton
Virginia Morrison
Nancy Campbell
